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 8                                      UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11      RALPH COLEMAN, et al.,                          No. 2:90-cv-0520 KJM SCR P
12                        Plaintiffs,
13             v.                                       ORDER
14      GAVIN NEWSOM, et al.,
15                        Defendants.
16

17

18            The technical advisor appointed by the court on August 27, 2024, ECF No. 8377, has
19     submitted his invoice for services rendered in February 2025. A copy of the invoice is attached.
20            In accordance with the August 27, 2024 order and good cause appearing, IT IS HEREBY
21     ORDERED that defendants shall forthwith pay to
22                           Leading Resources Inc.
                             Attn: Eric Douglas
23                           1930 N Street
                             Sacramento, CA 95811
24

25     the amount of $2,625.00 as payment of the statement attached to this order.
26     DATED: March 4, 2025.
27

28
                                                SENIOR1UNITED STATES DISTRICT JUDGE
              Case 2:90-cv-00520-KJM-SCR                      Document 8561               Filed 03/05/25          Page 2 of 2




  BILL TO                                                                                                         DATE            INVOICE NO.
United States District Court for the                                                                          3/3/2025               4310
Eastern Disctrict of California




                                                                                           P.O./CONTRACT #                        TERMS

                                                                                                      24021

    DATE          DESCRIPTION                                                                             HOURS          RATE         AMOUNT

                Eric Douglas
   2/4/2025     Discuss options with Judge Mueller. Conduct follow up call with receiver candidate.           2          375.00           750.00
                Review emails regarding other candidates. Follow up with Judge Mueller.
  2/7/2025      Contact candidates. Relay information to Judge Mueller.                                       1          375.00          375.00
  2/10/2025     Consult with Judge Mueller on next steps.                                                     1          375.00          375.00
  2/17/2025     Discuss next steps with Judge Mueller.                                                        1          375.00          375.00
  2/18/2025     Meet with potential candidate and take notes. Follow up with Judge Mueller.                   1          375.00          375.00
  2/19/2025     Meet with Judge Mueller to discuss next steps.                                                1          375.00          375.00
                Subtotal                                                                                                               2,625.00




                                                                              Invoice Total                                           $2,625.00

                                                                              Payments/Credits                                             $0.00
                                                                              Balance Due                                             $2,625.00
